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   IT IS ORDERED as set forth below:




   Date: November 05, 2009
                                           _________________________________
                                                     Paul W. Bonapfel
                                               U.S. Bankruptcy Court Judge
   _______________________________________________________________
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